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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF KENTUCKY
                              SOUTHERN DIVISION
                                   (at London)

CASE NO. 17-CR-00053-GFVT                                   ELECTRONICALLY FILED

UNITED STATES OF AMERICA,                                                 PLAINTIFF,


VS.                          REQUEST FOR DISCOVERY


WERNER GRENTZ,                                                            DEFENDANT.

                                         ** ** **

       Comes now the Defendant, Werner Grentz, by and through the undersigned

counsel, pursuant to Federal Rule of Criminal Procedure 16(a), and hereby requests

discovery from the government as follows:

       1. The substance of any relevant oral statement made by the Defendant in

response to interrogation by a person the Defendant knew was a government agent if the

government intends to use the statement at trial.

       2. Any relevant written or recorded statement by the Defendant within the

government’s possession, custody, or control.

       3. The portion of any written record containing the substance of any relevant oral

statement by the Defendant in response to interrogation by a person the Defendant knew

was a government agent.

       4. The Defendant’s recorded testimony before a grand jury relating to the charged

offense.
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       5. The Defendant’s prior criminal record.

       6. The opportunity to inspect and copy or photograph all books, papers,

documents, data, photographs, tangible objects, buildings or places, or copies or portions

of any of these items within the government’s possession, custody, or control, and which:

       (a) is material to preparing the defense;

       (b) the government intends to use in its case-in-chief at trial; or

       (c) was obtained from or belongs to the Defendant.

       7. The opportunity to inspect and copy or photograph the results or reports of any

physical or mental examination and of any scientific test or experiment within the

government’s possession, custody, or control which is material to preparing the defense

or which the government intends to use in its case-in-chief at trial.

       8. A written summary of any testimony that the government intends to use under

Rules 702, 703, or 705 of the Federal Rule of Evidence during its case-in-chief at trial,

describing the witness’s opinions, the basis and reasons for those opinions, and the

witness’s qualifications.

                                                   Respectfully Submitted,

                                                   s/David S. Hoskins
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                                                   COUNSEL FOR DEFENDANT
                                                   WERNER GRENTZ
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                               CERTIFICATE OF SERVICE

        The undersigned certifies that on this 1st day of November, 2017, the foregoing

was filed electronically with the Clerk of the Court by using CM/ECF System which will

send notice of filing to all counsel of record.


                                                  s/David S. Hoskins
                                                  COUNSEL FOR DEFENDANT
                                                  WERNER GRENTZ
